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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


David Ryan

v.                                               Case Number: 4:21−cv−03325

Carrington Mortgage Services, LLC




                                Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Magistrate Judge Andrew M Edison
LOCATION:
by video
Meeting Link:
https://www.zoomgov.com/j/1609869672?pwd=UmdsWGNjOHd6RDc1WFk0RTFsOFhvdz09
Meeting phone number: 646−828−7666
Meeting ID: 160 986 9672
Meeting Password: 837434


United States District Court
515 Rusk Street
Houston, TX 77002

DATE: 3/24/2022
TIME: 09:00 AM

TYPE OF PROCEEDING: Initial Conference
RE: Order for Initial Conference − FORM − #4


Date: February 11, 2022                                        Nathan Ochsner, Clerk
